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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
ILIR LECAJ,                               )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )
                                          )                     Civ. Action. No.: 15-10256
GREEN TREE SERVICING LLC                  )
                                          )
            Defendant.                    )
__________________________________________)


                                      NOTICE OF REMOVAL

TO:     The Honorable Judges of the United States District Court for the District of
        Massachusetts

        Pursuant to 28 U.S.C. §§ 1441 et seq., Defendant Green Tree Servicing LLC hereby

remove the action captioned Ilir Lecaj v. Green Tree Servicing LLC, et al., C.A. 1440SC283,

now pending in the Massachusetts District Court, Newburyport, to the United States District

Court for the District of Massachusetts. In so doing, Green Tree states the following:

        1.        On or about January 14, 2015, Plaintiff filed a Verified Complaint for Damages

(the “Complaint”) in Newburyport District Court.

        2.        Green Tree were served with the Complaint on January 14, 2015. A true and

accurate copy of these documents are attached hereto as Exhibit A.

        3.        In the Complaint, Plaintiff alleges that Green Tree, his current loan servicer,

violated the Fair Credit Reporting Act (“FCRA”) by obtaining his credit report without his

permission and failing to report accurately information to credit reporting agencies; violated the

Fair Debt Collection Practices Act (“FDCPA”) by using unfair methods to collect a debt, failing


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to provide certain information required by the statute, and continuing to collect a debt without

providing validation of the debt; and violated the federal Truth in Lending Act (“TILA”) by

failing to provide information concerning the owner of Plaintiff’s loan. Plaintiff claims that

these violations also constitute violations of M.G.L. c. 93.

        4.        Plaintiff’s claims for violation of the FCRA, FDCPA, TILA arise under federal

law and, as a result, this Court has jurisdiction over those claims pursuant to 28 U.S.C. § 1331.

        5.        The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

the remains claims which are based on the same allegations underlying the other claims.

        6.        Pursuant to 28 U.S.C. § 1446, the Defendants’ Notice of Removal is timely as it is

filed within thirty (30) days of receipt of the Complaint.

        7.        Pursuant to 28 U.S.C. § 1446, a copy of this Notice of Removal is being filed with

the Norfolk Superior Court.

        8.        Pursuant to Local Rule 81, Green Tree will file certified or attested copies of the

docket sheets and all documents that have been filed in the Superior Court.

        WHEREFORE, Green Tree respectfully requests that the above action now pending

against it in the Massachusetts District Court be removed therefrom to this Court.

                                                        GREEN TREE SERVICING LLC,

                                                        By their attorneys,


                                                        /s/ Amy B. Hackett
                                                        Richard E. Briansky (BBO# 632709)
                                                        Amy B. Hackett (BBO# 676345)
                                                        McCarter & English LLP
                                                        265 Franklin Street
                                                        Boston, MA 02110
                                                        Phone: (617) 449-6500
                                                        rbriansky@mmcarter.com
                                                        ahackett@mccarter.com

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                                CERTIFICATE OF SERVICE

      I, Amy B. Hackett, certify that on February 3, 2015, I served a copy of the foregoing
document on counsel for all parties by delivering a copy of the same by first class mail:

Ilir Lecaj
15 Juniper Street
Ipswich, MA 01938

                                                   /s/ Amy B. Hackett




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